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                                                         LEFT/RIGHT, LLC
                                                     39 West 19th Street, 9th Floor
                                                        New York, NY 10011
                                                                                                          
                                                                                                  Date: ____________________

      For good and valuable consideration, the receipt and sufficiency of which is hereby acknowledged, including payment
      to the undersigned (“Licensor”) of $ 5000.00, Licensor hereby grants to Left/Right, LLC (“Producer”) and its
      successors, licensees and assigns, the full and complete right to use:
      Eight (8) seconds of footage from the US Capitol riot on 1/6/21.


      (the “Licensed Material”) in and in connection with the production tentatively entitled “The Circus: Inside the
      Greatest Political Show on Earth” (the “Program”), or any derivative work thereof, and in and in connection with
      advertisements, promotions, publicity and other material relating to the Program or any derivative work thereof. This
      license and the rights hereunder may be freely assigned by Producer.

      The rights herein granted shall extend to and include Producer’s use of the Licensed Material in any and all manner and
      media whatsoever, whether now known or hereafter devised, throughout the universe in perpetuity, free and clear of any
      and all claims for royalties, residuals, or other compensation.

      Producer shall have the sole right to determine the manner in which the Licensed Material shall be used pursuant to
      this agreement, and Producer shall not be obligated to use the Licensed Material as part of the Program or otherwise, or
      to broadcast or otherwise exhibit or exploit the Program.

      Licensor hereby warrants and represents that it is the sole owner or holder (or the authorized representative of the sole
      owner or holder) of the rights granted herein, including, but not limited to any and all copyrights, trademarks, and
      rights in the likenesses of any people (if any) depicted in the Licensed Material, that it is authorized to enter into and
      execute this agreement, that nothing of value apart from the Licensed Material was given (or was agreed to be given)
      to Producer or any other person or entity in exchange for use of the Licensed Material in the Program, that the consent
      of no other person or entity is required to enable Producer to use the Licensed Material as described herein, and that
      such use will not violate the rights of any third parties.

      The parties agree to indemnify and hold free and harmless to the fullest extent permitted by law, the other party, each
      of their respective parent, subsidiary, and affiliated organizations, and each of their respective agents, employees,
      successors, and assigns from and against any and all claims, damages, liabilities, costs and expenses, including but not
      limited to reasonable attorneys’ fees, resulting from any breach of any warranty, representation, or agreement made
      herein.

      This agreement and all matters or issues collateral thereto shall be governed by the internal, substantive law of New York
      without regard to the conflicts of law provisions thereof. In any action by Licensor for breach of any provision hereunder,
      Licensor agrees that its exclusive remedy shall be an action at law for damages and in no event shall Licensor be entitled to
      injunctive or any other equitable relief. This agreement contains the parties’ entire understanding relative to its subject
      matter. Nothing in this agreement shall limit or restrict any rights otherwise enjoyed by Producer under law or contract.

      AGREED AND ACCEPTED:

                                                                                
      By:                                                        Print Name:
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      Title:                                                     E-mail:

      Phone:                                                     Address:


      CIRCUS6 Materials Release (Fee).docx
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     INVOICE
     John Sullivan                      contact@insurgence.us




     Bill to                                            Invoice details
                                                        Invoice no. : 1007
                                                        Invoice date : 02/05/2021
                                                        Due date : 02/20/2021




     Product or service                                                             Rate           Amount


1.   Non-Exclusive License                                                                       $2,500.00
     Non-Exclusive License:
     10 seconds of Jan 6th, 2021 - Storming Of The Capitol Footage


     Payment Info:
     Name: Chase Bank
     Address:
     Account:
     Routing:


                                                                                       Total   $2,500.00
     Note to customer
     Thanks for your business.                                                      Due date    02/20/2021
